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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

TROJAN BATTERY COMPANY LLC,                       )
    Plaintiff,                                    )
                                                  )
v.                                                )      Civil Action No. 4:21-cv-03075
                                                  )
TROJAN EV LLC and GOLF CARTS                      )
OF CYPRESS LLC,                                   )
                                                  )
        Defendants.                               )

       JOINT EXHIBIT LIST OF EXHIBITS ADMITTED AT BENCH TRIAL

        Plaintiff Trojan Battery Company and Defendants Trojan EV, LLC and Golf Carts

of Cypress, LLC jointly submit this list of exhibits that the parties agree and the record

reflects were admitted at the bench trial held from June 8, 2023 to June 13, 2023. For

exhibits that were pre-admitted, in accordance with the Court’s procedures, the parties

only identify those exhibits that were used with a witness.


 Exhibit #                                 Exhibit Description

      JTX 1   Trademark Reg. No. 1,813,578 for Trojan Word Mark
      JTX 2   Trademark Reg. No. 5,182,780 for Trojan Battery Sales Word Mark
      JTX 3   Trademark Reg. No. 5,951,233 for Trojan Logo Mark
      JTX 4   Green Motor Technologies Text Messages
      JTX 5   EV Titan Trademark Registration
      JTX 6   EV Titan Word Trademark Registration
      JTX 7   Golf Carts of Cypress Trademark Registration
      JTX 8   Golf Carts of Cypress Word Trademark Registration
      JTX 9   Trojan Battery Branding Guidelines
     JTX 10   Trojan EV Domain Information
     JTX 11   Trojan EV Signs and Banners
     JTX 12   Trojan-EV Logo Approval
     JTX 14   U.S. Trademark Application No. 90/573,175.

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JTX 15   U.S. Trademark Application No. 90/596,346.

         Trojan Battery Company 2018-2022 Golf Marketing Budget
PTX 4
         TROBAT0000613
         Trojan Battery Master Distributor Map
PTX 5
         TROBAT0000004-06
         Trojan Battery Golf Brochure
PTX 7
         TROBAT0000030-37
         Trojan Golf Battery Comparison
PTX 9
         TROBAT0000040
         Photograph Trojan Battery 2022 PGA Booth 3
PTX 12
         TROBAT0000048
         Trojan Battery Lithium Press Release
PTX 14
         TROBAT0000057-58
         Trojan Lithium-Ion Master Distributor Badge
PTX 15
         TROBAT0000095
         Trojan Lithium-Ion Authorized Dealer Badge
PTX 16
         TROBAT0000137
         Trojan Battery Sales Golf Cart Webpage
PTX 19
         TROBAT0000159-160
         Trojan Golf Brochure
PTX 20
         TROBAT0000167-168
         Trojan Battery July 30, 2021 Cease and Desist Letter
PTX 23
         TROBAT0000237-251
         Nashville Powersports Documents
PTX 25
         TROJAN EV000183-204
         Trojan Battery Company 3-Year Strategic Plan
PTX 26
         TROBAT0000260-280
         Trojan Battery Company Sales 2018-2022
PTX 27
         TROBAT0000281
         Trojan-EV Instagram
PTX 29
         TROJAN EV 000221-223
         Trojan Battery Company Dealer Locator
PTX 30
         TROBAT0000282-474
         B&W Golf Cars Dealer Agreement
PTX 31
         TROJAN EV000209-226
         Back9 Golf Carts Dealer Agreement
PTX 32
         TROJAN EV000227-242
         BMK Golf Carts Dealer Agreement
PTX 33
         TROJAN EV000243-258
         East Central Sports Dealer Agreement
PTX 36
         TROJAN EV000293-307
         Golf Carts of Cypress Dealer Agreement
PTX 39
         TROJAN EV000341-356

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          Golf Carts of Texas Dealer Agreement
PTX 40
          TROJAN EV000357-373
          Photograph Trojan Battery Company GCSAA 2022 Booth
PTX 52
          TROBAT0000559
          Trojan Battery Company Lithium Billboard 2022
PTX 54
          TROBAT0000607
          Photograph Trojan Battery 2022 PGA Booth
PTX 56
          TROBAT0000610
          B&W Golf Cars Become a Dealer Message
PTX 59
          TROJAN EV000550
          CW Golf Carts Become a Dealer Email
PTX 64
          TROJAN EV000590
          The Curious Pig Become a Dealer Email
PTX 68
          TROJAN EV000632
          Gotta Go Golf Carts Become a Dealer Email
PTX 69
          TROJAN EV000661
          Carts and Parts Become a Dealer Email
PTX 75
          TROJAN EV000690
          Indian River Golf Cars Become a Dealer Email
PTX 82
          TROJAN EV000756
          Dorchester Auto Sales & Service Inc. Become a Dealer Email
PTX 84
          TROJAN EV000779
          Back9 Golf Carts Become a Dealer Email
PTX 85
          TROJAN EV000782
          Trojan EV Profit and Loss by Customer
PTX 96
          TROJAN EV001102-1105
          Trojan EV Golf Carting Magazine Ad Buy
PTX 98
          TROJAN EV001118-1121
          Trojan EV Golf Car Option Ad Buy
PTX 99
          TROJAN EV001122
          Trojan EV Profit and Loss 2021
PTX 100
          TROJAN EV001125
          Trojan EV Sales by Customer Detail
PTX 102
          TROJAN EV001205
          Trojan EV Yamaha Golf Cars Solicitation Email
PTX 103
          TROJAN EV001218
          Yamaha Golf Cars New Authorized Dealer Interest Form
PTX 104
          TROJAN EV001219
          Nashville Powersports Solicitation Email
PTX 109
          TROJAN EV001256
          Golf Carts of Cypress Sales by Product Detail
PTX 165
          TROJAN EV001810-1816
          Golf Carting Magazine February 2022
PTX 167
          TROBAT0000655


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          Golf Car Options May 2022
PTX 168
          TROBAT0000707-814
          Golf Car Options October 2022
PTX 170
          TROBAT0000850-945
          Golf Carting Magazine November 2020
PTX 172
          TROBAT0001001-1052
          Trojan EV Website
PTX 174
          S10929224-trojanev.com_2022-10-14T20-26-37
          Golf Carts of Cypress Website
PTX 175
          S10929230-golfcartscypress.com_2022-10-14T20-27-58
          Golf Carts of Cypress Shop Page
PTX 177
          S10929242-golfcartscypress.com_2022-10-14T20-30-29
          Trojan Battery Company Instagram
PTX 179
          TROBAT0001636-1648
          Trojan EV Profit and Loss 2022
PTX 180
          TROJAN EV001822
          Mid-America Customs Dealer Agreement
PTX 186
          TROJAN EV001864-1880
          Mid-America Customs Signature Page
PTX 187
          TROJAN EV001881
          Foshan Proforma Invoice 10/21/2020
PTX 189
          TROJAN EV000541
          Foshan Proforma Invoice 11/11/2020
PTX 190
          TROJAN EV000542
          Trojan Battery Linkedin Posts
PTX 194
          TROBAT0002060-2153
          Nashville Powersports Website Custom 4-Passenger
PTX 206
          P091
          Trojan EV Confidential Dealer Price List
PTX 209
          TROJAN EV000162
          East Central Sports Inventory Page
PTX 215
          P031
          East Central Sports Termination Email
PTX 216
          P027
          East Central Sports Dealer Agreement
PTX 217
          P026
          East Central Sports Authorized Dealer Inquiry
PTX 218
          P024
          East Central Sports New Authorized Dealer Form Email
PTX 219
          P025
          East Central Sports Order Form
PTX 220
          P029
          East Central Sports Trojan EV Black Pictures
PTX 221
          P034


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          East Central Sports Trojan EV Capri Pictures
PTX 222
          P033
          East Central Sports Trojan EV Capri Promotional Pictures
PTX 223
          P032
          Sanders/Malloy Email Regarding Trojan EV
PTX 225
          TROBAT0000001-3
          Golf Carts of Cypress Trojan EV Sea Green
PTX 226
          P068
          Golf Carts of Cypress Service Center Page
PTX 228
          P018
          Nashville Powersports Website Homepage
PTX 231
          P090
          B&W Photos - Trojan-EV Pink Cart
PTX 238
          TROBAT0002185
          B&W Photos - Trojan Lithium Installed Top View
PTX 241
          TROBAT0002188
          B&W Photos - Trojan Battery Lithium Sign and Literature Stand
PTX 244
          TROBAT0002191
          B&W Photos - Trojan Authorized Dealer Banner
PTX 245
          TROBAT0002192
          B&W Photos - Trojan Batteries Sold Here
PTX 247
          TROBAT0002194
          East Central Sports Invoice from Trojan EV
PTX 249
          P030
          Trojan EV-X Promotional Email
PTX 250
          P036
          Trojan EV Marketing Material Email
PTX 251
          P037
          Prosper Golf Carts Website
PTX 252
          TROBAT0002196-2215
          Golf Carting Magazine April 2023
PTX 253
          TROBAT0002328-79
          Prosper Golf Carts, LLC Dealer Agreement
PTX 254
          TROJAN EV002002-17
          William Bueso Contact Us Email
PTX 258
          TROJAN EV002115
          Updated Trojan Battery Sales 2019-2023
PTX 261
          TROBAT002380
PTX 262   Golf Carts of Cypress – 2017 Electric Club Car Precedent Phoenix Blue
PTX 263   Golf Carts of Cypress – 2020 Electric EZGo Custom Breeze Body Luxury
PTX 264   U.S. Trademark Registration No. 281,689

DTX 1     TROJAN EV000138 - 145 (GCC certificate of formation, 8/15/19)
DTX 2     EV000146-150 (Trojan EV LLC Articles of Organization, 10/21/20)
DTX 4     EV000024-37 (LegalZoom TM search and report extract with cover email)
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             EV000052-56 (Pigott Ex. 13) (official USPTO notice of publication of
  DTX 5
             Trojan-EV word mark)
             EV000106-110 (Pigott Ex. 12) (official USPTO notice of publication of
  DTX 6
             Trojan-EV stylized mark)
  DTX 7      EV001819-21 (Transaction for registering trojanev.com domain)
  DTX 9      EV001828-29 (Purchase of store banners on November 15, 2020)
             TROBAT0000252-254 (Response letter from counsel concerning TBC’s
 DTX 10
             accusations of infringement)
             Harrall Oct. 19, 2022 declaration with attachments (Providing samples of
 DTX 14
             federal registrations including the word “Trojan”)
             Harrall Nov. 11, 2022 declaration with attachments (Providing documents
 DTX 15      published by USPTO and WIPO explaining International TM classes for the
             years 2021 and 2022)
             TROBAT0000508-15 (Pigott Ex. 21) (2012 TBC-Yamaha lead acid
 DTX 19
             batteries requirements contract)
             TROBAT0000479-507 (Pigott Ex. 25) (June 1, 2022 Master Distribution
 DTX 22
             Agreement between Continental and C&D)
             TROBAT0000475 (Pigott Ex. 26) (Nov. 2021 TBC price list for
 DTX 23
             Continental)
DTX 25       TROBAT0000049 (image showing TBC’s batteries as labeled)
DTX 26A      EV000205 (breakdown of mold costs)
DTX 26B      EV001825-827 (breakdown of mold costs)
DTX 27       EV001825-827 (breakdown of mold costs)
DTX 30       EV001125 (Trojan EV profit and loss Jan – Dec 2021)
DTX 31       EV001823 (Trojan EV profit and loss Jan – Oct 13, 2022)
             CONBAT0000003-5 (Williams Ex. 7) (November 2020 email chain
 DTX 34
             between John Cegielski and Jose Fuentes)


Dated: June 20, 2023                  DUANE MORRIS LLP

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                            CERTIFICATE OF SERVICE

      I certify that on June 20, 2023, I served a true and correct copy of the foregoing

document upon all counsel entitled to receive such notice via the Court’s electronic filing

system and/or electronic mail.


                                                /s/Tyler Marandola
                                                Tyler Marandola




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